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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO.: 0:23-cv-61354

   PROGRESSIVE        EXPRESS
   INSURANCE COMPANY,

         Plaintiff,

   vs.

   RASIER-DC, LLC, a foreign limited
   liability    company;       UBER
   TECHNOLOGIES, INC., a foreign
   corporation;    and       KARINA
   MONASTERIO, individually,

        Defendants.
   ____________________________/

                        COMPLAINT FOR DECLARATORY JUDGMENT

            Progressive Express Insurance Company (“Progressive”), by and through its attorneys,

  Morgan & Akins, PLLC, states by way of Complaint for Declaratory Judgment against

  Defendants, Rasier-DC, LLC, UBER Technologies, Inc., and Karina Monasterio, as follows:

  Parties

            1.     Plaintiff, Progressive Express Insurance Company (“Progressive”), is a corporation

  organized under the laws of Ohio and with its principal place of business located in Mayfield

  Village, Cuyahoga County, Ohio.

            2.     Defendant, Rasier-DC, LLC (“Rasier”), is a foreign limited liability company

  organized under the laws of Delaware and with its principal place of business located in San

  Francisco, San Francisco County, California. Rasier is a wholly owned subsidiary of UBER

  Technologies, Inc. UBER is Rasier’s sole member. UBER Technologies, Inc., is a foreign
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  corporation under the laws of Delaware and with its principal place of business located in San

  Francisco, San Francisco County, California.

         3.      Defendant, UBER Technologies, Inc. (“UBER”), is a foreign corporation organized

  under the laws of Delaware and with its principal place of business located in San Francisco, San

  Francisco County, California.

         4.      Defendant, Karina Monasterio (“Monasterio”), was and, at all times relevant to this

  action is, a resident and citizen of Hollywood, Broward County, Florida.

   Jurisdiction and Venue

         5.      This Court has subject matter jurisdiction over this instant action pursuant to 28

  U.S.C. § 1332(a)(1), because diversity of citizenship exists between Progressive, on the one hand,

  and Defendants, on the other, and the amount in controversy, as determined by the monetary value

  of the claims presented exceeds $75,000.00.

         6.       Venue is proper in this district as this is the judicial district in which a substantial

  part of the events giving rise to the claim occurred. See 28 U.S.C. 1391(b)(1).

  Florida’s TNC Statute

         7.      On July 1, 2017, Florida’s Transportation Network Company Statute (“TNC

  Statute”), Fla. Stat. § 627.748 went into effect.

         8.      The TNC Statute obligated ‘Transportation Network Companies,’ to obtain and

  maintain certain insurance coverages for and on behalf of the TNC driver, addressing, among other

  situations, where the TNC driver was engaged in a prearranged ride.

         9.      In situations in which a TNC driver was engaged in a prearranged ride, the TNC

  statute provides, in pertinent part, as follows:

                        (7)     Transportation network company and tnc driver
                 insurance requirements…

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                                (c)   The following automobile insurance
                 requirements apply while a participating TNC driver is engaged in
                 a prearranged ride:

                                        1.       Automobile insurance that provides:

                                                 a.     A     primary     automobile
                                        liability coverage of at least $1 million for
                                        death, bodily injury, and property damage;
                                                 b.     Personal injury protection
                                        benefits that meet the minimum coverage
                                        amounts required of a limousine under ss
                                        627.730-627.7405; and
                                                 c.     Uninsured and underinsured
                                        vehicle coverage as required by s. 627.727.

                 Fla. Stat. §627.748(7)(c)(1).

  Florida’s UM/UIM Statute

         10.     As reflected in the TNC Statute, the obligation to provide uninsured and

  underinsured vehicle coverage is determined by a separate statute, § 627.727. Fla. Stat.

  §627.748(7)(c)(1)(c.).

         11.     Section 627.727 sets forth Florida’s UM/UIM coverage requirements, generally, as

  well as the requirements incorporated into Florida’s TNC statute, specifically.

         12.     Section 627.727 imposes different obligations depending upon whether a

  specifically insured automobile is involved.

         13.     Section 627.727(1) applies to specifically insured automobiles and provides, in

  pertinent part, as follows:

                 No motor vehicle liability insurance policy which provides bodily
                 injury liability coverage shall be delivered or issued for delivery in
                 this state with respect to any specifically insured or identified motor
                 vehicle registered or principally garaged in this state unless
                 uninsured motor vehicle coverage is provided therein or
                 supplemental thereto for the protection of persons insured
                 thereunder who are legally entitled to recover damages from owners

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                  or operators of uninsured motor vehicles because of bodily injury,
                  sickness, or disease, including death, resulting therefrom.

  Fla. Stat. §627.727(1).

          14.     Section 627.727(1) does not, however, mandate that any person or entity maintain

  UM/UIM insurance. In particular, §627.727(1) expressly states that UM/UIM coverage can be

  reduced or eliminated, providing that “[h]owever, the coverage required under this section is not

  applicable when, or to the extent that, an insured named in the policy makes a written rejection of

  the coverage on behalf of all insureds under the policy.” Fla. Stat. §627.727(1).

          15.     Unless rejected, a liability policy for a specifically insured automobile must provide

  UM/UIM coverage with limits equal to the limits of bodily injury liability insurance.

          16.     Section 627.727(1) further provides that if the appropriate form is utilized and

  signed by the named insured, then then “it will be conclusively presumed that there was an

  informed, knowing rejection or election of lower limits on behalf of all insureds. Fla. Stat.

  §627.727(1).

          17.     Section 627.727(2) operates where a policy does not cover a specifically identified

  vehicle. It provides, in pertinent part, as follows:

                  The limits set forth in this subsection, and the provisions of
                  subsection (1) which require uninsured motorist coverage to be
                  provided in every motor vehicle policy delivered or issued for
                  deliver in this state, do not apply to any policy which does not
                  provide primary liability insurance that includes coverage for
                  liabilities arising from the maintenance, operation, or use of a
                  specifically inured motor vehicle.

  Fla. Stat. §627.727(2).

          18.     In the context where the policy does not cover a specifically identified vehicle, an

  insurer is not obligated to provide UM/UIM coverage. Rather, Florida’s UM/UIM statute provides,

  in pertinent part, that “an insurer issuing such a policy shall make available as part of the

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  application for such policy, and at the written request of an insured, limits up to the bodily injury

  limits contained in such policy or $1 million, whichever is less.” Fla. Stat. §627.727(2).

  The Policy

         19.     Upon information and belief, Defendant Rasier and/or its affiliated entities

  including, but not limited to UBER, provides services that would satisfy the statutory definition of

  a ‘transportation network company,’ under the TNC statute.

         20.     On March 1, 2022, Progressive issued a “Transportation Network Company

  Commercial Auto Policy,” Policy Number 06250110-8 (the “Period 2-3 Policy”), to Defendant,

  Rasier as a named insured. A true, accurate, and complete copy of the Period 2-3 Policy is attached

  hereto as Exhibit A.

         21.     Defendant, UBER was a named insured under the Period 2-3 Policy.

         22.     The limits of Liability Coverage under the Period 2-3 Policy are $1,000,000

  combined single limit. (Ex. B; Declaration Page).

         23.     The Period 2-3 Policy’s relevant UM/UIM insuring language is contained at Form

  Z901 FL (07/21), that provides, in pertinent part, as follows:

                 PART III—UNINSURED MOTORIST

                 INSURING AGREEMENT—UNINSURED                            MOTORIST
                 BODILY INJURY COVERAGE

                 Subject to the Limits of Liability, if you pay the premium for this
                 coverage, we will pay damages, other than punitive or exemplary
                 damages, that an insured is legally entitled to recover from the
                 owner or operator of an uninsured auto because of bodily injury:
                        1.      sustained by an insured;
                        2.      caused by an accident occurring while the TNC
                                driver is engaged in providing a prearranged
                                service; and
                        3.      arising out of the ownership, maintenance, or use of
                                an uninsured auto.



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  (Ex. A).

         24.     The Period 2-3 Policy defines the term “accident,” in pertinent part, as “a sudden,

  unexpected and unintended event that causes bodily injury or property damage.” (Ex. A).

         25.     The Period 2-3 Policy defines the term “insured auto,” in pertinent part, as “any

  auto while being used by a TNC driver, but only while engaged in providing a prearranged

  service utilizing the ride-share application accessed using that TNC driver’s valid

  credentials;…” (Ex. A, p. 7).

         26.     The Period 2-3 Policy defines the term, “prearranged service,” in pertinent part, as

  follows:

                          a.    the operation of any insured auto while the driver is
                 logged on to the ride-share application and has recorded
                 acceptance in the ride-share application of a request to provide
                 covered TNC operations and is engaged in one of the following
                 activities:
                                (i)     traveling to the accepted pick-up location of
                 the passenger(s) or goods to be delivered, including the picking up
                 of any passenger(s) or goods, and the pick-up location is in the state
                 of Florida; or
                                (ii)    traveling to the final destination location of
                 the passenger(s) or goods, including the dropping off of any
                 passenger(s) or goods, and the pick-up location was in the state of
                 Florida;.

  (Ex. A).

         27.     The Period 2-3 Policy also contained an additional definition for the term “insured,”

  for purposes of liability coverage, expanding it, as follows:

                 ADDITIONAL DEFINITIONS USED IN THIS PART ONLY
                 When used in this Part III, whether in the singular, plural, or
                 possessive:
                 1.     “Insured” means:
                        a. You;
                        b. Any TNC driver operating an insured auto who has
                             entered into a contract with you to provide covered TNC
                             operations via the ride-share application and whose

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                           contract was in force at the time of the subject accident
                           or loss; and
                        c. Any person while occupying and insured auto who is
                           using the valid credentials of any other person at the
                           time of the subject accident or loss is not an “insured”
                           for purposes of this Part III.

  (Ex. A).

         28.     Rasier, the named insured, did not pay the required premium for the coverages

  required under the Policy. Rather, on January 1, 2022, two (2) months before the Policy’s effective

  date, Amy Wagner, the insured’s Head of North American Insurance, executed a “Florida

  Rejection or Selection of Uninsured Motorist Coverage and Stacked or Non-Stacked Limits,” form

  (the “UM/UIM Selection Rejection Form”). A true, accurate, and complete copy of the UM/UIM

  Selection/Rejection Form is attached hereto as Exhibit C.

         29.     The UM/UIM Selection Rejection Form provided, in pertinent part, as follows:




  (Ex. C).

         30.     In addition, and as reflected on the Commercial Auto Insurance Coverage Summary

  (the “Declarations Page”), for the Period 2-3 Policy, the Declarations page specifically reflects



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  that UM/UIM Coverage was rejected. A true, accurate, and complete copy of the Declarations

  Page is attached hereto as Exhibit B.

         31.     The Declarations Page provides, in pertinent part, as follows:




  (Ex. B).

         32.     As reflected in the Period 2-3’s Declaration Page, the Limits of Liability for

  UM/UIM Coverage is zero because the coverage was rejected. (Ex. B).

  The May 6, 2022 Incident

         33.     On May 6, 2022, Defendant, Monasterio, owned and was driving a 202 Honda

  Accord, Vehicle Identification No. 1HGCV1F35LA129244 (the “Honda”).

         34.     On May 6, 2022, while driving the Honda, Defendant, Monasterio, logged into the

  “Uber” ride share application.

         35.     On May 6, 2022, Defendant, Monasterio, accepted a request on the Uber App to

  provide a ride for a passenger, Bradford Cavanaugh.

         36.     At some point prior to 10:45 a.m., Defendant, Monasterio, picked up Bradford

  Cavanaugh at the Hollywood-Fort Lauderdale Airport.




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         37.     During this pre-arranged ride, Defendant, Monasterio, was driving the Honda

  traveling sought bound in the express lane when another individual, Michael Israel, lost control of

  his vehicle, spun through three lanes of traffic, and collided with Defendant, Monasterio’s vehicle.

         38.     As a result of this incident, Defendant, Monasterio, contends that she has sustained

  significant bodily injuries.

  Monasterio’s Subsequent Lawsuit

         39.     On August 17, 2022, Defendant, Monasterio, filed a lawsuit in the Seventeenth

  Judicial Circuit in and for Broward County, Florida, Case No. CACE-22-012164 (the “Lawsuit”),

  in connection with the May 6, 2022. A true, accurate, and complete copy of the Complaint that

  was filed is attached hereto as Exhibit D.

         40.     In the Complaint, Defendant, Monasterio, asserted claims against Progressive in

  which she contends that she is entitled to receive UM/UIM benefits pursuant to the Period 2-3

  Policy. (Ex. D).

         41.     In the Complaint, Defendant, Monasterio, has alleged that the May 6, 2022 incident

  occurred while she was engaged in a “prearranged ride.” (Ex. D, ¶¶ 11-13).

         42.     In the Complaint, Defendant, Monasterio, alleged that the individual responsible

  for the May 6, 2022 incident was negligent and under insured. (Ex. D, ¶¶ 13-14).

          43.    In the Complaint, Defendant, Monasterio, alleged that, as a result of Mr. Israel’s

  negligence, she sustained “catastrophic bodily injuries, resulting in a spinal cord injury, loss of use

  of her legs, over $350,000 in medical bills…” (Ex. D, ¶ 15).

         44.     In the Complaint, Monasterio alleged that Progressive was “required to provide at

  least $1,000,000 in underinsured/uninsured motorist coverage to TNC drivers, such as the Plaintiff,

  while the TNC driver is engaged in a prearranged ride.” (Ex. D, ¶ 16).



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          45.       In the Complaint, Monasterio has further alleged that any attempt by Progressive,

   generally, and its reliance upon the UM/UIM Selection Rejection Form, specifically, to reject

   UM/UIM coverage is invalid because Florida’s TNC Statute mandates that Progressive afford

   UM/UIM coverage. (Ex. D, ¶ 24).

                   COUNT I – CLAIM FOR DECLATATORY JUDGMENT
          (No Obligation for Progressive to Provide UM/UIM Coverage under TNC Statute)

          45.       Progressive adopts and incorporates by reference paragraphs 1 through 44, above,

   which identify the parties, set forth the basis for this Court’s exercise of jurisdiction and venue,

   describe Florida’s TNC Statute, Florida’s UM/UIM Statute, the Period 2-3 Policy, the May 6, 2022

   incident, and the subsequent Lawsuit as though fully set forth herein.

          46.       Pursuant to Rule 57 of the Federal Rules of Civil Procedure and 28 U.S.C. §§ 2201

   and 2202, this Court is invested with the power to declare the rights and liabilities of the parties

   hereto, and to give such relief as it deems necessary under the facts and circumstances.

          47.       As reflected in Florida’s TNC Statute, Transportation Network Companies, were

   required to obtain and maintain insurance coverage for and on behalf of the TNC driver. See Fla.

   Stat. § 627.748(7)(c).

          48.       Florida’s TNC Statute imposed an obligation for the TNC Company to obtain and

   provide “uninsured and underinsured motorist coverage “as required by s. 627.727.” Fla. Stat. §

   627.748(7)(c).

          49.       Florida’s TNC statute did not specify, articulate, or set forth a particular amount of

   UM/UIM coverage that was required to be provided – referring only to the requirements imposed

   by § 627.727.




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          50.     But, section 627.727 does not mandate that any person or entity maintain UM/UIM

   insurance. See Fla. Stat. § 627.727. Rather, it expressly authorizes persons and entities to reject

   coverage entirely.

          51.     Section 627.727(1) provides that UM/UIM coverage can be reduced or eliminated,

   providing that “the coverage required under this section is not applicable when, or to the extent

   that, an insured named in the policy makes a written rejection of the coverage on behalf of all

   insureds under the policy.” Fla. Stat. §627.727(1).

          52.     Alternatively, in situations where a policy does not afford coverage for a

   “specifically insured or identified motor vehicle,” then there is no obligation to carry or provide

   UM/UIM insurance. In such a circumstance, the requirements of §627.727(2) would operate and

   control. See Fla. Stat. §627.727(2). Section 627.727(2) provides, in pertinent part, that:

                  The limits set forth in this subsection, and the provisions of
                  subsection (1) which require uninsured motorist coverage to be
                  provided in every motor vehicle policy delivered or issued for
                  delivery in this state, do not apply to any policy which does not
                  provide primary liability insurance that includes coverage for
                  liabilities arising from the maintenance, operation or use of a
                  specifically insured motor vehicle.”

   Fla. Stat. §627.727(2) (emphasis added).

          53.     Section 627.727(2) expressly provides: (i) that the requirement of insurance limits

   equal to bodily injury limits does not apply in such circumstances; and (ii) the insurer is required

   only to make available, as part of the application, and at the written request of the insured,

   UM/UIM coverage equal to the bodily injury limits or $1 Million, whichever is less. Fla. Stat.

   §627.727(2). Stated differently, pursuant to Fla. Stat. § 627.727(2), there is no obligation to

   provide insurance. Rather, there is only an obligation to notify that coverage is available.




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          54.     Progressive contends that the provisions of Fla. Stat. § 627.748 do not mandate that

   it provide generally, or under the Period 2-3 Policy, specifically, UM/UIM coverage in any

   amounts.

          55.     Progressive contends that the provisions of Fla. Stat. § 627.748, and specifically

   the references to Fla. Stat. Fla. Stat. § 627.727, acknowledge that insurers, such as Progressive,

   need not provide UM/UIM coverage provide that the applicable requirements of Fla. Stat. §

   627.727 are complied with.

          56.     Progressive contends, therefore, that Florida’s TNC statute does not obligate it to

   provide UM/UIM benefits, including benefits that could or may be available to cover the claims

   asserted in the Lawsuit for the May 6, 2022 incident.

          57.     There exists an actual, present, and practical need for the declaration of coverage

   under the Period 2-3 Policy, and the rights and obligations of Progressive.

          58.     There exists a present, ascertained or ascertainable state of facts or present

   controversy as to the state of facts concerning Progressive’s rights, duties, and obligations under

   the Period 2-3 Policy.

          62.     Progressive’s rights, duties, and obligations under the Period 2-3 Policy are

   dependent upon the facts and the law applicable to the facts affecting coverage under the Period

   2-3 Policy.

          63.     Progressive and the Defendants have an actual, present, adverse and antagonistic

   interest in the subject matter described herein.

          64.     All proper and present antagonistic interests are before the Court by proper process.




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          65.        Progressive is in doubt with respect to its rights, duties and obligations under the

   Period 2-3 Policy and, by this Complaint, seeks a declaration of its rights and obligations under

   those policies.

          WHEREFORE, Plaintiff, Progressive Express Insurance Company respectfully requests

   that this Court enter a declaratory judgment concerning the Period 2-3 Policy and determine the

   existence, or non-existence, of an immunity, power, privilege, or right, or any other fact upon

   which the existence or non-existence, of such immunity, power, privilege or right may depend

   including the following:

          a.         Declare that Florida’s TNC Statute, by referencing and incorporating Fla. Stat. §

   627.727, does not preclude Progressive from rejecting, excluding, disclaiming, reducing or

   eliminating coverage for UM/UIM benefits including, but not limited to, benefits that would

   otherwise potentially be available for ;

          b.         That the Period 2-3 Policy does not provide UM/UIM coverage generally, or for

   Karina Monasterio, specifically, for the claims asserted in the Lawsuit or relating to or arising from

   the May 6, 2022 incident; and/or

          c.         for such other and further relief as this Court deems just and proper.

                      COUNT II – CLAIM FOR DECLARATORY JUDGMENT
                         (No UM/UIM Coverage by Operation of 627.727(2))

          66.        Progressive adopts and incorporates by reference paragraphs 1 through 44, above,

   which identify the parties, set forth the basis for this Court’s exercise of jurisdiction and venue,

   describe Florida’s TNC Statute, Florida’s UM/UIM Statute, the Period 2-3 Policy, the May 6, 2022

   incident, and the subsequent Lawsuit as though fully set forth herein.




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          67.     Progressive adopts and incorporates by reference paragraphs 45 through 66

   comprising Count I concerning the ability to exclude, reduce, or eliminate coverage as and for

   paragraph 67 of this Count II.

          68.     Pursuant to Rule 57 of the Federal Rules of Civil Procedure and 28 U.S.C. §§ 2201

   and 2202, this Court is invested with the power to declare the rights and liabilities of the parties

   hereto, and to give such relief as it deems necessary under the facts and circumstances.

          69.     The Period 2-3 Policy did not provide coverage for specifically identifiable

   automobiles, generally, and the Honda was not a specifically identifiable automobile under the

   Policy. (Ex. A).

          70.     Prior to the Period 2-3 Policy going into effect, Progressive made available, as part

   of the application for the Period 2-3 Policy, limits of UM/UIM coverage up to the bodily injury

   limits contained in the Period 2-3 Policy or $1 Million. (Ex. C).

          71.     Those coverages were made available and declined by the insured. (Ex. C).

          72.     Progressive contends that, by making available, as part of the application process

   for the Period 2-3 Policy, limits of UM/UIM coverage up to the bodily injury limits contained in

   the Period 2-3 Policy or $1 Million, that it complied with its obligations under Fla. Stat. §

   627.727(2).

          73.     Progressive contends that, by satisfying its obligation to make such coverage

   available, and when the insureds, Defendants Rasier and Uber, declined to procure such coverage

   after it was made available to them, Progressive was neither required to nor obligated to provide

   UM/UIM benefits in any amount.




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          74.        Progressive contends that, the claims and events surrounding the May 6, 2022

   incident and which form the basis for the UM/UIM Claim in the Lawsuit, therefore, seek benefits

   that are not covered by the Period 2-3 Policy.

          75.        Progressive contends that it has no duty to pay or indemnify Defendant,

   Monasterio, for any damages that have or may be claimed by her in connection with the May 6,

   2022, accident, including any claims for UM/UIM benefits asserted in the Lawsuit.

          76.        There exists an actual, present, and practical need for the declaration of coverage

   under the Period 2-3 Policy, and the rights and obligations of Progressive.

          77.        There exists a present, ascertained or ascertainable state of facts or present

   controversy as to the state of facts concerning Progressive’s rights, duties, and obligations under

   the Period 2-3 Policy.

          78.        Progressive’s rights, duties, and obligations under the Period 2-3 Policy are

   dependent upon the facts and the law applicable to the facts affecting coverage under the Period

   2-3 Policy.

          79.        Progressive and the Defendants have an actual, present, adverse and antagonistic

   interest in the subject matter described herein.

          80.        All proper and present antagonistic interests are before the Court by proper process.

          81.        Progressive is in doubt with respect to its rights, duties and obligations under the

   Period 2-3 Policy and, by this Complaint, seeks a declaration of its rights and obligations under

   those policies.

          WHEREFORE, Plaintiff, Progressive Express Insurance Company respectfully requests

   that this Court enter a declaratory judgment concerning the Period 2-3 Policy and determine the

   existence, or non-existence, of an immunity, power, privilege, or right, or any other fact upon



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   which the existence or non existence, of such immunity, power, privilege or right may depend

   including the following:

          a.      Declare that the Period 2-3 Policy does not insure a specifically identifiable

   automobile, generally, and the Honda, specifically;

          b.      That Progressive complied with its obligation to make available, as part of the

   application for the Period 2-3 Policy, UM/UIM Coverage, UM/UIM coverage in the amount equal

   to the bodily injury limits or $1 Million, to the insureds;

          c.      That the insureds, Defendants, Uber and Rasier, declined such coverage;

          d.      That the Period 2-3 Policy does not provide UM/UIM coverage to any person or

   entity, including, but not limited to, Defendants Uber, Rasier, or Monasterio;

          e.      That the Period 2-3 Policy does not provide UM/UIM coverage and that such

   benefits are not available in connection with any of the claims arising from the May 6, 2022

   incident or the Lawsuit; and

          f.      For such other and further relief as this Court deems just and proper.

                    COUNT III – CLAIM FOR DECLARATORY JUDGMENT
                       (No UM/UIM Coverage by Operation of 627.727(1))
                                 (In the Alternative to Count II)

          82.     Progressive adopts and incorporates by reference paragraphs 1 through 44, above,

   which identify the parties, set forth the basis for this Court’s exercise of jurisdiction and venue,

   describe Florida’s TNC Statute, Florida’s UM/UIM Statute, the Period 2-3 Policy, the May 6, 2022

   incident, and the subsequent Lawsuit as though fully set forth herein.

          83.     Progressive adopts and incorporates by reference paragraphs 45 through 66

   comprising Count I concerning the ability to exclude, reduce, or eliminate coverage as and for

   paragraph 67 of this Count II.



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          84.     Pursuant to Rule 57 of the Federal Rules of Civil Procedure and 28 U.S.C. §§ 2201

   and 2202, this Court is invested with the power to declare the rights and liabilities of the parties

   hereto, and to give such relief as it deems necessary under the facts and circumstances.

          85.     Prior to the Period 2-3 Policy going into effect, the insureds, Uber and Rasier

   executed the UM/UIM Selection Rejection Form. (Ex. C).

          86.     The Defendants’, Uber and Rasier’s, rejection of UM/UIM Coverage was made on

   a “form approved by the office,” consistent with the requirements of Fla. Stat. § 627.727(1).

          87.     Progressive contends that, by obtaining a written rejection on a form approved by

   the office, as part of the application process for the Period 2-3 Policy, that it complied with its

   obligations under Fla. Stat. § 627.727(1) and was, therefore, is entitled to the conclusive

   presumption that there was an informed, knowing rejection of UM/UIM limits by the insureds.

          88.     Progressive contends that, by satisfying its obligation under Fla. Stat. § 627.727(1),

   Defendants Rasier and Uber, expressly rejected UM/UIM and, therefore, Progressive was neither

   required to nor obligated to provide UM/UIM benefits in any amount under the Period 2-3 Policy.

          89.     Progressive contends that, the claims and events surrounding the May 6, 2022

   incident and which form the basis for the UM/UIM Claim in the Lawsuit, therefore, seek benefits

   that are not covered by the Period 2-3 Policy.

          90.     Progressive contends that it has no duty to pay or indemnify Defendant,

   Monasterio, for any damages that have or may be claimed by her in connection with the May 6,

   2022, accident, including any claims for UM/UIM benefits asserted in the Lawsuit.

          91.     There exists an actual, present, and practical need for the declaration of coverage

   under the Period 1 Policy and the Period 2-3 Policy, and the rights and obligations of Progressive.




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          92.        There exists a present, ascertained or ascertainable state of facts or present

   controversy as to the state of facts concerning Progressive’s rights, duties, and obligations under

   the Period 2-3 Policy.

          93.        Progressive’s rights, duties, and obligations under the Period 2-3 Policy are

   dependent upon the facts and the law applicable to the facts affecting coverage under the Period

   2-3 Policy.

          94.        Progressive and the Defendants have an actual, present, adverse and antagonistic

   interest in the subject matter described herein.

          95.        All proper and present antagonistic interests are before the Court by proper process.

          96.        Progressive is in doubt with respect to its rights, duties and obligations under the

   Period 2-3 Policy and, by this Complaint, seeks a declaration of its rights and obligations under

   those policies.

          WHEREFORE, Plaintiff, Progressive Express Insurance Company respectfully requests

   that this Court enter a declaratory judgment concerning the Period 2-3 Policy and determine the

   existence, or non-existence, of an immunity, power, privilege, or right, or any other fact upon

   which the existence or non existence, of such immunity, power, privilege or right may depend

   including the following:

          a.         Declare Progressive obtained the insured’s rejection of UM/UIM Coverage on a

   form approved by the office as required by Fla. Stat. § 627.727(1);

          b.         That Progressive is entitled to the conclusive presumption that there was an

   informed, knowing rejection of UM/UIM coverage by the insureds in connection with the Period

   2-3 Policy;

          c.         That the insureds, Defendants, Uber and Rasier, declined such coverage;



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          d.      That the Period 2-3 Policy does not provide UM/UIM coverage to any person or

   entity, including, but not limited to, Defendants Uber, Rasier, or Monasterio;

          e.      That the Period 2-3 Policy does not provide UM/UIM coverage and that such

   benefits are not available in connection with any of the claims arising from the May 6, 2022

   incident or the Lawsuit; and

          f.      For such other and further relief as this Court deems just and proper.

                   COUNT IV – CLAIM FOR DECLARATORY JUDGMENT
                      (No UM/UIM Coverage by Operation of 627.727(1))
                           (In the Alternative to Counts II and III)

          97.     Progressive adopts and incorporates by reference paragraphs 1 through 44, above,

   which identify the parties, set forth the basis for this Court’s exercise of jurisdiction and venue,

   describe Florida’s TNC Statute, Florida’s UM/UIM Statute, the Period 2-3 Policy, the May 6, 2022

   incident, and the subsequent Lawsuit as though fully set forth herein.

          98.     Progressive adopts and incorporates by reference paragraphs 45 through 66

   comprising Count I concerning the ability to exclude, reduce, or eliminate coverage as and for

   paragraph 67 of this Count II.

          99.     Pursuant to Rule 57 of the Federal Rules of Civil Procedure and 28 U.S.C. §§ 2201

   and 2202, this Court is invested with the power to declare the rights and liabilities of the parties

   hereto, and to give such relief as it deems necessary under the facts and circumstances.

          100.    Prior to the Period 2-3 Policy going into effect, the insureds, Uber and Rasier

   executed the UM/UIM Selection Rejection Form. (Ex. C).

          101.    The Defendants’, Uber and Rasier’s, rejection of UM/UIM Coverage was made, in

   writing.




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          102.    Progressive contends that, by obtaining a written rejection, that it complied with its

   obligations under Fla. Stat. § 627.727(1), and that it obtained an informed, knowing rejection of

   UM/UIM limits by the insureds.

          103.    Progressive contends that, by satisfying its obligation under Fla. Stat. § 627.727(1),

   Defendants Rasier and Uber, expressly rejected UM/UIM and, therefore, Progressive was neither

   required to nor obligated to provide UM/UIM benefits in any amount under the Period 2-3 Policy.

          104.    Progressive contends that, the claims and events surrounding the May 6, 2022

   incident and which form the basis for the UM/UIM Claim in the Lawsuit, therefore, seek benefits

   that are not covered by the Period 2-3 Policy.

          105.    Progressive contends that it has no duty to pay or indemnify Defendant,

   Monasterio, for any damages that have or may be claimed by her in connection with the May 6,

   2022, accident, including any claims for UM/UIM benefits asserted in the Lawsuit.

          106.    There exists an actual, present, and practical need for the declaration of coverage

   under the Period 1 Policy and the Period 2-3 Policy, and the rights and obligations of Progressive.

          107.    There exists a present, ascertained or ascertainable state of facts or present

   controversy as to the state of facts concerning Progressive’s rights, duties, and obligations under

   the Period 2-3 Policy.

          108.    Progressive’s rights, duties, and obligations under the Period 2-3 Policy are

   dependent upon the facts and the law applicable to the facts affecting coverage under the Period

   2-3 Policy.

          109.    Progressive and the Defendants have an actual, present, adverse and antagonistic

   interest in the subject matter described herein.

          110.    All proper and present antagonistic interests are before the Court by proper process.



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          111.       Progressive is in doubt with respect to its rights, duties and obligations under the

   Period 2-3 Policy and, by this Complaint, seeks a declaration of its rights and obligations under

   those policies.

          WHEREFORE, Plaintiff, Progressive Express Insurance Company respectfully requests

   that this Court enter a declaratory judgment concerning the Period 2-3 Policy and determine the

   existence, or non-existence, of an immunity, power, privilege, or right, or any other fact upon

   which the existence or non existence, of such immunity, power, privilege or right may depend

   including the following:

          a.         Declare Progressive obtained a rejection of UM/UIM Coverage from the insureds

   prior to the Period 2-3 policy’s inception;

          b.         That Progressive obtained an informed, knowing rejection of UM/UIM coverage

   by the insureds in connection with the Period 2-3 Policy;

          c.         That the insureds, Defendants, Uber and Rasier, declined such coverage;

          d.         That the Period 2-3 Policy does not provide UM/UIM coverage to any person or

   entity, including, but not limited to, Defendants Uber, Rasier, or Monasterio;

          e.         That the Period 2-3 Policy does not provide UM/UIM coverage and that such

   benefits are not available in connection with any of the claims arising from the May 6, 2022

   incident or the Lawsuit; and

          f.         For such other and further relief as this Court deems just and proper.




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   Dated: July 17, 2023              Respectfully submitted,


                                     /s/ Patrick K. Dahl
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